  Case: 1:17-cv-00194 Document #: 86-1 Filed: 06/01/17 Page 1 of 3 PageID #:2162




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

FEDERAL TRADE COMMISSION,

                             Plaintiff,
                                                                Case No. 17-cv-194
         -vs-

CREDIT BUREAU CENTER, LLC, et al.,

                             Defendants.


                            DECLARATION OF GREGORY ZINI

       GREGORY ZINI, under penalty of perjury and in accordance with 28 U.S.C. § 1746,

states and declares that the following is true and correct:


       1.       I am a partner in the law firm of Barclay Damon, LLP, co-counsel for Defendants

Credit Bureau Center, LLC and Michael Brown in this matter and submit this Declaration in

support of the accompanying Motion, pursuant to Local Rule 83.17 and Rule 1.16 of the Illinois

Rules of Professional Conduct (“RPC”), for leave to Withdraw as Counsel for Defendants Credit

Bureau Corporation (“CBC”) and Michael Brown.             I am fully familiar with the facts and

circumstances of this matter. This Declaration is based upon my personal knowledge. Other co-

counsel who have appeared as counsel of record in this matter, and who also are moving to

withdraw, are Parker R. MacKay, of the Law Offices of Parker MacKay, and Lawrence C.

Rubin, of Taft Stettinus & Hollister LLP.

       2.       This action was commenced by the Federal Trade Commission with the filing of a

Complaint on January 10, 2017. The following day, a Temporary Restraining Order was issued

by this Court (Hon. Sharon Johnson Coleman. In connection with that Order, Robb Evans &

Associates LLC (“Robb Evans”) was appointed Temporary Receiver.
  Case: 1:17-cv-00194 Document #: 86-1 Filed: 06/01/17 Page 2 of 3 PageID #:2163




       3.      After oral argument and two days of live testimony, and after due deliberation, on

February 21, 2017, the Temporary Restraining Order was converted into a Preliminary

Injunction (Hon. Matthew F. Kennelly). That Order provided that Robb Evans would continue

as Receiver.

       4.      On Friday, May 19, 2017, at approximately 5:50 p.m., I (together with co-counsel

identified above) received an electronic mail message from Blair Zanzig, Esq., counsel for Robb

Evans, in which Mr. Zanzig informed me of his opinion that CBC and/or Mr. Brown had

interfered with receivership assets.

       5.      On Wednesday, May 24, 2017, at 12:30 p.m., Mr. MacKay and I had a

teleconference with Guy G. Ward and Samuel A.A. Levine, counsel for the FTC, in which

Messrs. Ward and Levine informed us of their opinion that CBC and/or Brown had violated the

terms of the Preliminary Injunction. Messrs. Ward and Levine notified us of their intention to

bring the alleged violation to the attention of the Court.

       6.      During the balance of May 24, 2017 and during nearly the whole day of May 25,

2017, Mr. MacKay and I consulted with our clients, with Mr. Rubin, and with each other

regarding a possible defense to whatever application would be brought by the FTC. Based upon

information obtained during these conversations, as well as several follow-up email messages, it

has become clear to me that there is a fundamental disagreement between our clients and their

lawyers. In addition, I have become convinced that continuing as counsel to Defendants will

contravene my duties and obligations under Rule 1.16 of the Illinois Rules of Professional

Conduct and that withdrawal is mandatory under RPC 1.16(a)(1). Withdrawal in the present

circumstances is also supported by RPC 1.16(b)(4) and (7).




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   Case: 1:17-cv-00194 Document #: 86-1 Filed: 06/01/17 Page 3 of 3 PageID #:2164




           7.   I am aware of various ethics opinions that detail that type and amount of

information to support a motion to withdraw due to confidentiality obligations under RPC 1.6.

Thus, this Declaration is by design limited in describing the issues that have mandated

withdrawal from representation. If the Court requests, I will submit an additional Declaration

under seal so that confidential information is not disclosed and no prejudice will result to my

clients.

           8.   Based on the above, it is respectfully submitted that withdrawal by Messrs.

MacKay and Rubin and the undersigned is mandated by the Rules of Professional Conduct. We

have so notified our clients and have requested that they obtain new counsel. If the motion is

granted, we also seek a limited period of time within the action will be stayed in order to allow

Defendants to obtain new counsel. Lastly, we seek such additional relief as the Court deems fair

and proper.

DATED:          Buffalo, New York
                June 1, 2017                        Respectfully submitted,
                                                    __/s/ Gregory Zini_____________
                                                    Gregory Zini




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